  IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE,
                              NASHVILLE DIVISION

 Vimala, LLC, et al.,                            )
                                                 )
      Plaintiffs,                                )
                                                 )
 v.                                              )
                                                 )         No. 3:19-cv-00513
 WELLS FARGO BANK, N.A., et al.,,                )         JUDGE RICHARDSON
                                                 )
   Defendants.                                   )
 ____________________________                    )
                                                 )
                                                 )

 PLAINTIFFS’ MOTION TO EXTEND DEADLINE TO RESPOND TO SPECIAL
                   MASTER COOPER’S MOTION

        Pursuant to FRCP 6(b), Plaintiffs Vimala, LLC and Alecia Venkataraman respectfully

move for an extension of time to April 12, 2023 to respond to the Special Master’s Motion

(Doc. No. 208).

        As grounds for the continuance, undersigned counsel would state: (1) that he has

been retained for the limited purpose of entering into discussions with certain of

Plaintiffs’ creditors, including the Special Master; (2) that it is possible that the parties will

be able to reach an agreement given additional time; and (3) that if no agreement is

reached Plaintiffs will respond to the motion on the same timeline as Plaintiffs’ former

counsel has to respond to the motion (by April 12, 2023), therefore no delay in the

proceedings will occur by virtue of the additional time.




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       Therefore, Plaintiffs respectfully request that they be permitted until April 12, 2023

to respond to the Special Master’s Motion.

                                                 Respectfully submitted,

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                                                 Venkataraman1

                                    CERTIFICATE OF SERVICE

       I certify that on this day, February 28, 2023, a true and exact copy of the foregoing

document has been served on the following counsel by electronic mail and/or CM/ECF to:

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 As is discussed above, counsel is hereby entering a limited appearance solely for
purposes of dealing with the Special Master’s Motion.


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